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                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

JOHN VIGIL,
                       Plaintiff,

v.                                                          Case No. 1:18-CV-00829-SCY-JFR

FRANCES TWEED, et al.,

                       Defendants.


 MOTION FOR ENTRY OF PARTIAL JUDGMENT PURSUANT TO FED.R.CIV.P.54
             AND REQUEST TO STAY THE INSTANT CASE
              PENDING THE OUTCOME OF THE APPEAL

       Plaintiff John Vigil, through counsel, respectfully requests that the Court enter a Partial

Judgment into the record, which will allow Plaintiff to pursue an Appeal at this time. Plaintiff

further requests that the Court stay the instant matter, pending the outcome of that appeal. As

grounds in support thereof, Plaintiff states:

       I.      Rule 54(b) Permits the Appeal of a Court’s Decision on 12(b) Motions, but only
               when a Partial Judgment is also Entered.

       On June 16, 2020, the Court entered its Memorandum Opinion and Order granting in part

and denying in part Defendants’ respective requests for dismissal. However, the Court did not file

a Partial Judgment at the time of the entry of the Memorandum Opinion and Order. C.f.,

Memorandum Opinion and Order [Doc. #31](filed 10/23/2019)(Parker, J) in Garcia vs. Martinez,

et al., No. 1:19-cv-00641-JAP-LF and Partial Final Judgment [Doc. #32] (filed 10/23/2019)

(Parker, J) in Garcia vs. Martinez, et al., No. 1:19-cv-00641-JAP-LF. In this case, only the

Memorandum Opinion and Order was entered. Plaintiff respectfully requests that the Partial Final

Judgment be entered in this matter.
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       II.     The Memorandum Opinion and Order Dismissing Much of Plaintiff’s
               Complaint is based on Reasoning that Plaintiff will Seek to Review on Appeal.
               It would Benefit All Parties to have that Review Completed Before
               Commencing Trial on the Remaining Counts Rather than Afterward.

       A core portion of the Court’s ruling was the determination that in order to pursue a civil

rights claim for the initial search of his desk, Plaintiff was required to request a disfavored and

discretionary request for interlocutory appeal. As the New Mexico Supreme Court noted,

yesterday, in the context of Inspection of Public records Act cases:

       As both parties note, Jones could have applied for discretionary remedies such as
       interlocutory review or reconsideration in response to the district court’s order
       denying summary judgment. See, e.g., NMSA 1978, § 39-3-4 (1999) (providing for
       interlocutory appeals from district court in civil cases under limited circumstances);
       Rule 12-203 NMRA (same). However, as a matter of civil procedure, we are not
       aware of any authority requiring him to have done so to preserve the issues
       addressed therein. Nor do our applicable principles favor such a requirement. See
       Principal Mut. Life Ins. Co. v. Straus, 1993-NMSC-058, ¶ 12, 116 N.M. 412, 863
       P.2d 447 (“There is a strong policy in New Mexico of disfavoring piecemeal
       appeals and of avoiding fragmentation in the adjudication of related legal or factual
       issues.” (citation omitted)); Kelly Inn No. 102, Inc., 1992-NMSC-005, ¶ 27 (“New
       Mexico has [a] strong policy that courts should facilitate, rather than hinder, the
       right to appeal.” (citing Govich v. North American Sys., Inc., 1991-NMSC-061, ¶
       12, 112 N.M. 226, 814 P.2d 94)). We decline to conclude that it was mandatory in
       this case for Jones to apply for discretionary remedies from a nonfinal,
       interlocutory, ruling in order to preserve his argument that the requested records
       were improperly withheld.

Slip Op., Jones v. N.M. Dept. of Public Safety, S-1-SC-37094, (Vigil, J) entered 07/14/2020.

Available at: https://decisia.lexum.com/nmos/nmsc/en/item/482405/index.do

       It is true that the Jones decision related to a different type of lawsuit. It was specifically

overruling a claim that a civil litigant was required to seek an interlocutory appeal in order to

preserve his or her right to seek review of, in that case, the grant or denial of summary judgment.

Unlike that matter, the instant case involves a holding that a criminal defendant must seek an

interlocutory appeal in order to preserve a future civil claim. Thus, while it is far from a foregone

conclusion that the Tenth Circuit will agree with the New Mexico Supreme Court’s reasoning on


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an appeal in this case, the strength of the language in the New Mexico Supreme Court’s holding

today indicates that reasonable minds may disagree about the necessity of seeking an interlocutory

appeal in order to preserve the right to sue. Plaintiff is mindful of the Court’s need to control and

manage its docket and respectfully seeks the Court’s agreement that in this matter an appeal now

is the better method to avoid delay and unnecessary litigation going forward.


        III.    Although the Requested Stay is not Mandatory, the Standard for Granting or
                Denying Stays of District Court Proceedings Pending Interlocutory Appeals,
                Supports the Requested Stay.

        After reviewing the standard regarding mandatory and permissive stays in the District

Court, it is Plaintiff’s contention that the standard for granting a stay in this proceeding pending

interlocutory appeal of the Partial Final Judgment requested by Plaintiff favors a stay in this court

pending the resolution of the appeal. That is, in cases in which the District Court retains jurisdiction

over a portion of the case, the trial court nevertheless “has broad discretion to stay proceedings as

an incident to its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706, 117 S.Ct.

1636, 1650 (1997). The courts’ authority even extends to staying an action pending resolution of

pending litigation in which the parties are not involved. Id. at 244 (Where the resolution of an

interlocutory appeal “would alter the direction of the current proceedings[…] It would be a waste

of judicial and party resources to proceed with the other claims while the appeal is pending.” Ass'n

of Irritated Residents v. Fred Schakel Dairy, 634 F. Supp. 2d 1081 (E.D. Cal. 2008); accord

Mediterranean Enterprises, Inc. v. Ssangyong Corp., 708 F.2d 1458, 1465 (9th Cir.1983) (“A trial

court may, with propriety, find it is efficient for its own docket and the fairest course for the parties

to enter a stay of an action before it, pending resolution of independent proceedings which bear

upon the case”).




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       Two sister courts in the Tenth Circuit have issued two instructive decisions. In Beltronics

USA, Inc. v. Midwest Inventory Distribution, LLC, 545 F. Supp. 2d 1188 (D. Kan. 2008), the

plaintiffs had prevailed in securing a preliminary injunction. In granting the stay, the district court

noted that the appeal to the Tenth Circuit would likely resolve a fundamental question in the

dispute known as the “first sale doctrine”, and even if it did not fully resolve the issue, the appeal

would clarify the appropriate parameters for future discovery and motions proceedings. Id. at 1190.

Similarly, in Bray v. QFA Royalties, LLC, 2007 WL 2688858, Memorandum Opinion & Order,

Civil Action No. 06–cv–02528–JLK. (D. Colo. Sept. 12, 2007), the district court granted a stay

pending the defendant's interlocutory appeal of the district court's granting of preliminary

injunction, because the Tenth Circuit's “determination of the legal issues inherent in my

preliminary injunction decision will edify further proceedings on those same plaintiffs' claims for

permanent injunctive relief.” Id. at *1. The outcome of the planned appeal could dramatically

reshape the issues to be presented at trial and Plaintiff therefore requests a stay of the remaining

counts pending that outcome.

       IV.     Plaintiff intends to Concurrently file his Notice of Appeal. Pursuant to Rule
               54(b), It will be Considered to have been Filed Only Upon the Entry of the
               Partial Final Judgment.

       Rule 54(b) allows the filing of a Notice of Appeal before the Partial Final Judgment

requested herein is filed. It will not be “operative” unless and until the Court enters a Partial Final

Judgment. It will be filed out of concern that Defendants may believe that the Memorandum

Opinion and Order itself was enough to trigger Plaintiff’s deadline to file a Notice of Appeal. It

does not affect the Court’s jurisdiction of the matter or hamper its ability to either grant or deny

this Motion. It appears to Plaintiff as a result of discussions between counsel, that certain

Defendants believe that the filing of the Memorandum Opinion and Order triggers the thirty-day

appellate deadline. Plaintiff did not find any law in support of this contention. Instead, Plaintiff
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submits that the filing of a Partial Final Judgment is the triggering event. In this case, however, the

debate over the triggering event is academic: both the instant pleading and the Notice of Appeal

will have been filed within thirty days of the entry of the Memorandum Opinion and Order.

       V.       Position of Defendants

       Counsel for the State Defendants, Mark Komer, has been contacted and has advised that at

this time his clients cannot concur in this request made herein. Counsel will apprize the parties and

the Court if additional research and consideration or discussion with his clients causes these

Defendants to change their position. At the present time, the Motion is opposed.

       Counsel for the County Defendants, Christina Brennan, has been contacted. Plaintiff does

not intend to appeal the portion of the Court’s Memorandum Opinion and Order that related to the

County Defendants. Given this fact, the County Defendants take no position on this Motion.

       WHEREFORE Plaintiff requests that the Court file a Partial Final Judgment, that the Court

stay this matter pending the outcome of the appeal, and for such further relief as the Court deems

necessary and appropriate.

                                                       Respectfully submitted,
                                                       ROMERO & WINDER, P.C.

                                                       “Electronically Filed”
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I certify that a true and correct copy of the
foregoing Motion was served to all counsel
of record via the Court’s CM/ECF electronic
document filing and delivery service on the
date indicates in the header affixed hereto by
the Court.

       “Electronically Filed”
By:    /s/ Joe M. Romero. Jr.




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